Case 5:01-cr-30058-SGW            Document 493 Filed 02/26/13               Page 1 of 1 Pageid#:
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                         IN TH E UN ITED STA TES D ISTR IC T CO UR T                         FEB 25 2213
                        FO R TH E W E STER N D ISTR ICT O F V IR G IN IA                 JULIA    '' EY C RK
                                 H ARRISONBURG DIVISION                                BY;


 U N ITED STA TES O F A M ER ICA                 )        C rim inalCase N o.5:01cr30058-6
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                                                 )
                                                 )        2255 M EM O R AN D UM O PIN ION
                                                 )
                                                 )        By:Sam uelG .W ilson
 JO N A TH AN JIM EN EZ.                         )        United StatesDistrictJudge

         JonathanJim enez,a federalinmateproceedingyv/ se,hasGled a motion to vacate,set

 aside,orcorrectsentencepursuantto28U.S.C.j2255.Jimenezchallengeshis292-month
 sentenceforconspiringtodistributecocainebaseinviolationof21U.S.C.j846.Courtrecords
 indicatethatJimenezpreviouslyfiledaj2255motionregardingthesnmeconvictionand
 sentence,whichthecourtdenied. fseeOrder,ECFNo.421.) Thiscourtmayconsiderasecond
 orsuccessivej2255motion onlyuponspecificcertificationfrom theUnited StatesCourtof
 AppealsfortheFourthCircuitthattheclaimsinthemotionmeetcertain criteria.Seej2255(19.
 A sJim enez has notsubm itted any evidence ofhaving obtained certification from the Courtof

 Appealstofileasecondorsuccessivej2255motion,thecourtdismisseshismotionas
 successive. 1
         ENTER:February 25,2013.                                                     ...
                                                                                       e'
                                                                                        v/




                                                              ITED STA TES D ISTRICT JU DG E
          1Jim enez apparently believesthatthe court'spreviousreduction ofhis sentencepm suantto 18 U .S.C.j
 3582(0(2)constitutesaresentencingthatpermitsasecondorsuccessivej2255petition.However,j3582doesnot
 affectthefinalityofacriminaljudgment.SeeUnitedStatesv.Sanders,247F.3d139,143(4thCir.2001).
         To obtain certifkation from the United States CourtofAppealsforthe Fourth Circuitto have thiscourt
 review asuccessivej2255motion,Jimenezmustsubmitacopy ofthesuccessivej2255 motiontotheCourtof
 Appeals,along with amotion requesting athree-judgepanelcertitkation thatthcdiskictcourtmay review the
 successivej2255motion.See28U.S.    C.j2244.A form andinstructionsforfilingthismotionareavailablefrom
 the Fourth Circuitatthe following address:Oftice of the Clerk,United States Courtof Appeals forthe Fourth
 Circuit,900E.MainSt.,Richmond,VA 23219.
